      Case 3:19-cv-02207-S Document 1 Filed 09/16/19                Page 1 of 13 PageID 1



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

KATELYN HANKS,                                         )
                                                       )
                              Plaintiff,               )
                                                       )      CIVIL ACTION
vs.                                                    )
                                                       )      File No.
LA MICHOACANA MEAT MARKET TM                           )
HOLDINGS, LLC and ROADE PROPERTIES,                    )
LTD.,                                                  )
                                                       )
                              Defendants.              )

                                            COMPLAINT

        COMES NOW, KATELYN HANKS, by and through the undersigned counsel, and files

this, his Complaint against Defendants, LA MICHOACANA MEAT MARKET TM HOLDINGS,

LLC and ROADE PROPERTIES, LTD., pursuant to the Americans with Disabilities Act, 42 U.S.C.

§ 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                                           JURISDICTION

        1.     This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendants’ LA

MICHOACANA MEAT MARKET TM HOLDINGS, LLC and ROADE PROPERTIES, LTD.,

failure to remove physical barriers to access and violations of Title III of the ADA.

                                              PARTIES

        2.     Plaintiff, KATELYN HANKS (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Dallas, Texas (Dallas County).

        3.     Plaintiff is disabled as defined by the ADA.



                                                   1
     Case 3:19-cv-02207-S Document 1 Filed 09/16/19                   Page 2 of 13 PageID 2



        4.       Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

        5.       Plaintiff uses a wheelchair for mobility purposes.

        6.       Plaintiff is also an independent advocate of the rights of similarly situated disabled

persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. Her motivation to return to a location, in part, stems from a desire to utilize ADA litigation

to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever

is necessary to create the requisite standing to confer jurisdiction upon this Court so an injunction

can be issued correcting the numerous ADA violations on this property, including returning to the

Property as soon as it is accessible (“Advocacy Purposes”).

        7.       Defendant, LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC

(hereinafter “LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC”), is a foreign limited

liability company that transacts business in the State of Texas and within this judicial district.

        8.       Defendant, LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC, may be

properly served with process via its registered agent for service, to wit: c/o Monty & Ramirez,

LLP, Registered Agent, 150 W. Parker Road, 3rd Fl., Houston, TX 77076.

        9.       Defendant, ROADE PROPERTIES, LTD. (hereinafter “ROADE PROPERTIES,

LTD.”), is a Texas limited company that transacts business in the State of Texas and within this

judicial district.

        10.      Defendant, ROADE PROPERTIES, LTD., may be properly served with process via

its registered agent for service, to wit: c/o Monty & Ramirez, LLP, Registered Agent, 150 W.



                                                    2
    Case 3:19-cv-02207-S Document 1 Filed 09/16/19                 Page 3 of 13 PageID 3



Parker Road, 3rd Fl., Houston, TX 77076.

                                   FACTUAL ALLEGATIONS

       11.     On or about September 4, 2019 Plaintiff was a customer at “La Michoacana Meat

Market,” a business located at 3380 Lombardy Lane, Dallas, TX 75220, referenced herein as the

“La Michoacana Meat Market.”

       12.     La Michoacana Meat Market is operated by Defendant, LA MICHOACANA MEAT

MARKET TM HOLDINGS, LLC.

       13.     LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC is the lessee or sub-

lessee of the real property and improvements that are the subject of this action.

       14.     ROADE PROPERTIES, LTD. is the owner or co-owner of the real property and

improvements that La Michoacana Meat Market is situated upon and that is the subject of this

action, referenced herein as the “Property.”

       15.     Plaintiff lives 14 miles from La Michoacana Meat Market and the Property.

       16.     Plaintiff’s access to the business(es) located at 3380 Lombardy Lane, Dallas, TX

75220, Dallas County Property Appraiser’s parcel ID number 005776000801E0000 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited because

of her disabilities, and she will be denied and/or limited in the future unless and until Defendants,

LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC and ROADE PROPERTIES, LTD.,

are compelled to remove the physical barriers to access and correct the ADA violations that exist at

La Michoacana Meat Market and the Property, including those set forth in this Complaint.

       17.     Plaintiff has visited La Michoacana Meat Market and the Property at least once

before as a customer and advocate for the disabled. Plaintiff intends on revisiting La Michoacana



                                                  3
    Case 3:19-cv-02207-S Document 1 Filed 09/16/19                Page 4 of 13 PageID 4



Meat Market and the Property within six months or sooner, as soon as the barriers to access detailed

in this Complaint are removed and La Michoacana Meat Market and the Property is accessible

again. The purpose of the revisit is to be a regular customer, to determine if and when La

Michoacana Meat Market and the Property is made accessible and to maintain standing for this

lawsuit for Advocacy Purposes.

       18.      Plaintiff intends on revisiting La Michoacana Meat Market and the Property to

purchase food and/or services as a regular customer living in the near vicinity as well as for

Advocacy Purposes, but does not intend to re-expose herself to the ongoing barriers to access and

engage in a futile gesture of visiting the public accommodation known to Plaintiff to have

numerous and continuing barriers to access.

       19.      Plaintiff travelled to La Michoacana Meat Market and the Property as a customer

and as an independent advocate for the disabled, encountered the barriers to access at La

Michoacana Meat Market and the Property that are detailed in this Complaint, engaged those

barriers, suffered legal harm and legal injury, and will continue to suffer such harm and injury as a

result of the illegal barriers to access present at La Michoacana Meat Market and the Property.


                                      COUNT I
                          VIOLATIONS OF THE ADA AND ADAAG

       20.      On July 26, 1990, Congress enacted the Americans with Disabilities Act 42 U.S.C. §

12101 et seq.

       21.      Congress found, among other things, that:

       (i)      some 43,000,000 Americans have one or more physical or mental
                disabilities, and this number is increasing as the population as a whole is
                growing older;

       (ii)     historically, society has tended to isolate and segregate individuals with
                disabilities, and, despite some improvements, such forms of discrimination


                                                 4
    Case 3:19-cv-02207-S Document 1 Filed 09/16/19                Page 5 of 13 PageID 5



               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to enforce
               the fourteenth amendment and to regulate commerce, in order to address the
               major areas of discrimination faced day-to-day by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.      The congressional legislation provided places of public accommodation one and a

half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26, 1993



                                                 5
    Case 3:19-cv-02207-S Document 1 Filed 09/16/19                Page 6 of 13 PageID 6



if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C. §

12181; 28 C.F.R. § 36.508(a).

       25.     La Michoacana Meat Market is a public accommodation and service establishment.

       26.     The Property is a public accommodation and service establishment.

       27.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

of Justice and Office of Attorney General promulgated federal regulations to implement the

requirements of the ADA. 28 C.F.R. Part 36.

       28.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       29.     La Michoacana Meat Market must be, but is not, in compliance with the ADA and

ADAAG.

       30.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       31.     Plaintiff has attempted to, and has to the extent possible, accessed La Michoacana

Meat Market, La Paleta and the Property in her capacity as a customer of La Michoacana Meat

Market, La Paleta and the Property and as an independent advocate for the disabled, but could not

fully do so because of her disabilities resulting from the physical barriers to access, dangerous

conditions and ADA violations that exist at La Michoacana Meat Market and the Property that

preclude and/or limit her access to La Michoacana Meat Market, La Paleta and the Property and/or

the goods, services, facilities, privileges, advantages and/or accommodations offered therein,

including those barriers, conditions and ADA violations more specifically set forth in this

Complaint.

       32.     Plaintiff intends to visit La Michoacana Meat Market, La Paleta and the Property



                                                 6
     Case 3:19-cv-02207-S Document 1 Filed 09/16/19                 Page 7 of 13 PageID 7



again in the very near future as a customer and as an independent advocate for the disabled, in order

to utilize all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at La Michoacana Meat Market and the Property, but will be unable to fully do

so because of her disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at La Michoacana Meat Market and the Property that preclude and/or limit her

access to La Michoacana Meat Market and the Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those barriers, conditions

and ADA violations more specifically set forth in this Complaint.

       33.     Defendants, LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC and

ROADE PROPERTIES, LTD., have discriminated against Plaintiff (and others with disabilities) by

denying her access to, and full and equal enjoyment of the goods, services, facilities, privileges,

advantages and/or accommodations of La Michoacana Meat Market and the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

       34.     Defendants, LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC and

ROADE PROPERTIES, LTD., will continue to discriminate against Plaintiff and others with

disabilities unless and until Defendants, LA MICHOACANA MEAT MARKET TM HOLDINGS,

LLC and ROADE PROPERTIES, LTD., are compelled to remove all physical barriers that exist at

the La Michoacana Meat Market and the Property, including those specifically set forth herein, and

make La Michoacana Meat Market and the Property accessible to and usable by Plaintiff and other

persons with disabilities.

       35.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to La Michoacana Meat Market and the Property and the full and equal enjoyment of the



                                                  7
    Case 3:19-cv-02207-S Document 1 Filed 09/16/19                     Page 8 of 13 PageID 8



goods, services, facilities, privileges, advantages and accommodations of La Michoacana Meat

Market and the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     The Property lacks an accessible route from the sidewalk to the accessible entrance

               in violation of Section 206.2.1 of the 2010 ADAAG standards. This violation made

               it difficult for Plaintiff to access the units of the Property.

       (ii)    The total number of accessible parking spaces is inadequate and is in violation of

               Section 208.2 of the 2010 ADAAG standards. This violation made it difficult for

               Plaintiff to locate an accessible parking space.

       (iii)   The access aisle to the accessible parking space is not level due to the presence of an

               accessible ramp in the access aisle in violation of Section 502.4 of the 2010 ADAAG

               standards. This violation made it dangerous and difficult for Plaintiff to exit and

               enter their vehicle while parked at the Property.

       (iv)    The accessible curb ramp is improperly protruding into the access aisle of the

               accessible parking space in violation of Section 406.5 of the 2010 ADAAG

               Standards. This violation made it difficult and dangerous for Plaintiff to exit/enter

               their vehicle.

       (v)     The Property lacks a van accessible disabled parking space in violation of Section

               208.2.4 of the 2010 ADAAG standards and the disabled parking space does not have

               the required “van accessible designation in violation of Section 502.6 of the 2010

               ADAAG standards. This violation made it difficult for Plaintiff to locate an

               accessible parking space.




                                                    8
Case 3:19-cv-02207-S Document 1 Filed 09/16/19                    Page 9 of 13 PageID 9



  (vi)     In the alternative to (ii) above, the parking space directly adjacent to the current

           accessible parking space has a sign indicating it is accessible, however, this

           accessible parking space has no other clear markings such as an access aisle which

           would indicate it is an accessible parking space. The lack of an access aisle is a

           violation of section 502.3 of the 2010 ADAAG Standards. This violation made it

           difficult for Plaintiff to have found an accessible parking space.

  (vii)    In the alternative to (ii) above, the parking space directly adjacent to the current

           accessible parking space is not located on the shortest distance to the access route

           and requires a disabled patron to dangerously traverse behind a parked car, this is a

           violation of section 208.3.1 of the 2010 ADAAG Standards.

  (viii)   The interior has walking surfaces lacking a 36 (thirty-six) inch clear width, due to a

           policy of placing items for sale blocking the accessible route, in violation of Section

           403.5.1 of the 2010 ADAAG standards. This violation made it difficult for Plaintiff

           to properly utilize public features at the Property.

  (ix)     The vertical reach to the self-serve produce bags exceeds the maximum allowable

           height of 48 (forty-eight) inches above the finish floor or ground in violation of

           Section 308.3.1 of the ADAAG standards. This violation made it difficult for

           Plaintiff to property utilize public features of the Property.

  (x)      All meat counters lack any portion of the counter that has a maximum height of 36

           (thirty-six) inches from the finished floor in violation of Section 904.4 of the 2010

           ADAAG standards, all portions of the sales and service counter exceed 36 (thirty-

           six) inches in height from the finished floor. This violation made it difficult for

           Plaintiff to properly transact business at the Property.



                                               9
   Case 3:19-cv-02207-S Document 1 Filed 09/16/19                   Page 10 of 13 PageID 10



       (xi)    The vertical reach to the customer service bell on the meat counters exceeds the

               maximum allowable height of 48 (forty-eight) inches above the finish floor or

               ground in violation of Section 308.3.1 of the ADAAG standards. This violation

               made it difficult for Plaintiff to property utilize public features of the Property.

       (xii)   Defendants fail to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

       RESTROOMS

       (i)     The actionable mechanism of the paper towel dispenser in the restroom is located

               outside the prescribed vertical reach ranges set forth in Section 308.2.1 of the 2010

               ADAAG standards. This made it difficult for Plaintiff and/or any disabled individual

               to safely utilize the restroom facilities.

       (ii)    The door exiting the restroom lacks a clear minimum maneuvering clearance, due to

               the proximity of the door hardware to the adjacent wall, in violation of Section

               404.2.4 of the 2010 ADAAG standards. This made it difficult for Plaintiff and/or

               any disabled individual to safely utilize the restroom facilities.


       36.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at Super Wash & Dry and the

Property.

       37.     Plaintiff requires an inspection of La Michoacana Meat Market and the Property in

order to determine all of the discriminatory conditions present at La Michoacana Meat Market and

the Property in violation of the ADA.

       38.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant


                                                   10
   Case 3:19-cv-02207-S Document 1 Filed 09/16/19                   Page 11 of 13 PageID 11



difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       39.     All of the violations alleged herein are readily achievable to modify to bring La

Michoacana Meat Market and the Property into compliance with the ADA.

       40.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at La Michoacana Meat Market and the Property is readily achievable

because the nature and cost of the modifications are relatively low.

       41.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at La Michoacana Meat Market and the Property is readily achievable

because Defendants, LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC and ROADE

PROPERTIES, LTD., have the financial resources to make the necessary modifications.

       42.     Upon information and good faith belief, La Michoacana Meat Market and the

Property have been altered since 2010.

       43.     In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with the

1991 ADAAG standards.

       44.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that she will continue to suffer irreparable harm unless and until Defendants,

LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC and ROADE PROPERTIES, LTD.,

are required to remove the physical barriers, dangerous conditions and ADA violations that exist at

La Michoacana Meat Market and the Property, including those alleged herein.

       45.     Plaintiff’s requested relief serves the public interest.

       46.     The benefit to Plaintiff and the public of the relief outweighs any resulting detriment

to Defendants, LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC and ROADE



                                                   11
   Case 3:19-cv-02207-S Document 1 Filed 09/16/19               Page 12 of 13 PageID 12



PROPERTIES, LTD.

       47.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendants, LA MICHOACANA MEAT MARKET TM HOLDINGS, LLC and

ROADE PROPERTIES, LTD., pursuant to 42 U.S.C. §§ 12188 and 12205.

       48.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant injunctive

relief to Plaintiff, including the issuance of an Order directing Defendants, LA MICHOACANA

MEAT MARKET TM HOLDINGS, LLC and ROADE PROPERTIES, LTD., to modify La

Michoacana Meat Market and the Property to the extent required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)    That the Court find Defendant, LA MICHOACANA MEAT MARKET TM

              HOLDINGS, LLC, in violation of the ADA and ADAAG;

       (b)    That the Court find Defendant, ROADE PROPERTIES, LTD., in violation of the

              ADA and ADAAG

       (c)    That the Court issue a permanent injunction enjoining Defendants, LA

              MICHOACANA MEAT MARKET TM HOLDINGS, LLC and ROADE

              PROPERTIES, LTD., from continuing their discriminatory practices;

       (d)    That the Court issue an Order requiring Defendants, LA MICHOACANA MEAT

              MARKET TM HOLDINGS, LLC and ROADE PROPERTIES, LTD., to (i) remove

              the physical barriers to access and (ii) alter La Michoacana Meat Market and the

              Property to make it readily accessible to and useable by individuals with disabilities

              to the extent required by the ADA;

       (e)    That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses and

              costs; and



                                                12
   Case 3:19-cv-02207-S Document 1 Filed 09/16/19             Page 13 of 13 PageID 13



      (f)    That the Court grant such further relief as deemed just and equitable in light of the

             circumstances.

Dated: September 16, 2019.                Respectfully submitted,

                                          THE SCHAPIRO LAW GROUP, P.L.

                                          /s/ Douglas S. Schapiro
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                                              13
